Case 0:21-cv-60825-RAR Document 6 Entered on FLSD Docket 05/17/2021 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CIV-60825-RAR

 UNITED STATES,

         Plaintiff,

 v.

 ROGER J. STONE, et al.,

       Defendants.
 ___________________________/

                                  ORDER TO PERFECT SERVICE

         THIS CAUSE comes before the Court sua sponte. On April 16, 2021, Plaintiff filed its

 Complaint [ECF No. 1]. To date, there is no indication in the court file that Defendants have been

 served with the Complaint. 1 Rule 4(m) of the Federal Rules of Civil Procedure requires service

 of the summons and complaint to be perfected upon defendants within 90 days after the filing of

 the complaint. It is therefore

         ORDERED AND ADJUDGED that on or before July 15, 2021, Plaintiff shall perfect

 service upon Defendants or show good cause as to why the claims against the unserved Defendants

 should not be dismissed for failure to perfect service of process. Failure to file proof of service or

 show good cause by July 15, 2021 will result in a dismissal without prejudice of claims against

 the unserved Defendants without further notice.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 17th day of May, 2021.



                                                          _________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE

 1
  Broward County filed an Answer on May 3, 2021 [ECF No. 5], but Plaintiff has not filed returns of service
 for any of the Defendants.
